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                                         #:2130



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13                            UNITED STATES DISTRICT COURT
14
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                    No. CR 2:24-cr-00091-ODW
16
17               Plaintiff,                       GOVERNMENT’S OPPOSITION TO
                                                  DEFENDANT’S MOTION IN LIMINE
18                      v.
                                                  TO PRECLUDE REFERENCES TO
19   ALEXANDER SMIRNOV,                           DEFENDANT’S LAWFULLY OWNED
                                                  FIREARMS
20
                 Defendant.
21                                                Hearing Date: November 25, 2024
                                                  Hearing Time: 10:00 a.m.
22                                                Location:     Courtroom of the Hon.
23                                                              Otis D. Wright
24
25
26         Plaintiff, United States of America, by and through its counsel of record, hereby

27   files its opposition to the defendant’s motion in limine to preclude any references to his

28   lawfully owned firearms. In the event that the defendant contests that certain pieces of
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1    evidence seized at his residence are his, the firearms are relevant to establishing the
2    defendant’s ownership and control over that residence and its contents. Evidence of the
3    defendant’s lawfully owned firearms, offered to establish his ownership and control of
4    other evidence seized at his residence, is also not unduly prejudicial, so excluding them
5    under Federal Rule of Evidence 403 is unwarranted. In the event that the defendant does
6    not contest that the evidence seized at his residence was his, then the government will not
7    seek to introduce the firearms.
8          This motion is based upon the attached memorandum of points and authorities, the
9    indictment in this case, and any further evidence and argument as the Court may deem
10   necessary.
11
12    Dated: November 15, 2024            Respectfully submitted,
13
                                          DAVID C. WEISS
14                                        Special Counsel
15
                                          /s/
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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2          The defendant has moved to exclude all references to firearms that were found in
3    his residence when FBI agents were executing a search warrant. See ECF 146 (“Def.
4    Mot.”). In the event that the defendant contests that items of evidence seized at his
5    residence were not his, the government seeks to introduce evidence of the firearms1 to
6    establish that the other evidence seized from the defendant’s residence, such as electronic
7    devices and a hat that evidences bias against Public Official 1, belonged to the defendant.
8    In an effort to streamline the evidence at trial and obviate the need for the firearms
9    evidence, the government told the defendant that it was amenable to a stipulation, as long
10   as he agreed not to dispute that the evidence seized from the defendant’s residence
11   belonged to him. The defendant refused to do so, and accordingly, the government is
12   entitled to introduce the firearms evidence to establish this fact if the defendant contests
13   that the items seized as his residence were his.
14         The defendant primarily contends that he will be unduly prejudiced by the firearms
15   evidence. But the government does not dispute that he lawfully possessed the firearms,
16   and he entirely fails to explain why his possession of lawfully owned firearms poses a risk
17   of “unfair prejudice” or “misleading the jury,” if it is offered for the purpose of establishing
18   that other evidence seized at his residence was his. Fed. R. Evid. 403. Because the firearms
19   evidence is relevant and not unduly prejudicial for that purpose, the Court should deny the
20   defendant’s motion in limine to exclude it.
21   I.    ARGUMENT
22         On February 21, 2024, after securing a search warrant signed by United States
23   Magistrate Judge Brenda Weksler, FBI agents executed a search of the defendant’s
24   residence in Las Vegas. During the search, agents found nine firearms. Agents also found
25   other items, including electronic devices, and other evidence, such as a hat emblazoned
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27          At this time, the government does not plan to introduce the physical firearms into
     evidence; it plans to either offer photographs of the firearms or reference the firearms
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     during witness testimony.
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1    with an anti-Public Official 1 euphemism. These items are directly relevant to the charges
2    in this case. For example, the government plans to introduce communications found on
3    the defendant’s electronic devices that similarly evidence bias again Public Official 1. And
4    the hat seized from his residence demonstrate the same bias, which bears on the
5    defendant’s motive in providing the FBI with false derogatory information about Public
6    Official 1, who was a candidate for President of the United States, in the months leading
7    up to the 2020 election. The Indictment alleges exactly this. See, e.g., Indict. ¶¶ 8-21, ECF
8    1.
9          In the event that the defendant contests that the items which contain evidence of his
10   bias are not his, the government seeks to introduce evidence of the firearms to establish
11   that these items, and others seized from the defendant’s residence, belong to him. The
12   firearms are registered to the defendant and are highly probative of his control of the
13   residence and the items within it, as it is only logical to infer that the defendant controlled
14   the residence where he kept nine of his guns. This is particularly significant because two
15   other individuals were staying at the defendant’s residence when the search warrant was
16   executed. The firearms make it more likely that the items seized belong to him, not anyone
17   else who may have had access to his residence. And because those seized items are
18   relevant to the charges in this case—something the defendant does not even contest—the
19   firearms are necessary to establish the defendant’s ownership and control over them. See
20   Fed. R. Evid. 401.
21         Indeed, the government told the defendant that it only intends to offer the evidence
22   of the firearms for this purpose—not, as the defendant incorrectly states, to use “during its
23   case-in-chief, opening statement, closing argument, and/or rebuttal.” Def. Mot. at 5. The
24   government also offered to work toward a stipulation with the defendant. On October 25,
25   2024, government counsel wrote in an email to defense counsel:
26         You asked for our position on whether we intend to reference “[t]he firearms
27         seized from Mr. Smirnov’s residence in Las Vegas at or around the time of
28         his initial arrest in February 2024.” (Letter dated October 21, 2024, Paragraph
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1          2). We oppose. While we do not intend to introduce the seizure of the guns
2          in our case in chief at this time, we reserve the right to do so to establish,
3          among other things, that items seized from the defendant’s residence belong
4          to him. If you do not intend to challenge whether evidence seized from the
5          defendant’s residence belongs to him, we believe we can reach a stipulation
6          that we will not introduce the firearms at trial.
7    The defendant refused to entertain the stipulation and continues to refuse to do so. Because
8    the defendant will not stipulate that the other items in his residence belong to him, the
9    government may need to rely on the firearms to establish this fact. The government should
10   not be penalized for the defendant’s refusal to agree to a solution that would be more
11   efficient for both the parties and the Court.
12         In his motion, the defendant does not even attempt to engage with the government’s
13   justification for introducing the firearm evidence. Instead, he merely states in a conclusory
14   fashion that the evidence is an “inflammatory tangent” that “has nothing to do with any
15   element of the charged offenses.” Def. Mot. at 9. But as described, the firearms bear on
16   the central issue of whether the evidence seized from the residence belong to the
17   defendant, and not the two other individuals staying at the residence. See Slaughter-Payne
18   v. Shinseki, 522 F. App’x 409, 410 (9th Cir. 2013) (noting the “low bar for relevancy under
19   Federal Rule of Evidence 401”).
20         Evidence of the defendant’s lawfully owned firearms would also not be unduly
21   prejudicial under Federal Rule of Evidence 403. The government does not dispute that the
22   defendant legally possessed the firearms, so it is unclear what the risk of unfair prejudice
23   would be. Unsurprisingly, the defendant fails to identify any case that holds evidence
24   concerning lawfully owned firearms that belonged to the defendant was unduly
25   prejudicial. Indeed, the defendant’s cited cases are easily distinguishable. In Schagene v.
26   Mabus, the court excluded evidence that an employee illegally brought a gun to a federal
27   facility. No. 13CV0333-WQH-RBB, 2015 WL 13566925, at *2 (S.D. Cal. Mar. 10, 2015).
28   And in United States v. Hitt, the court excluded a photograph that displayed dozens of
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1    weapons that did not belong to the defendant, explaining that the jury “must have
2    assumed” incorrectly that the weapons belonged to the defendant.2 At least one other Ninth
3    Circuit case distinguished Hitt on similar grounds. See United States v. Bascue, 97 F.3d
4    1461 (9th Cir. 1996) (admitting photographs of firearms and distinguishing Hitt because
5    “this is not a case in which the jury wrongly was led to believe that weapons belonged to
6    the defendants when in fact the weapons belonged to someone else”). In sum, the danger
7    of “unfair prejudice, confusion of the issues and of misleading the jury” does not
8    “substantially” outweigh the evidence’s probative value. See Fed. R. Evid. 403.
9    II.   CONCLUSION
10         For these reasons, the Court should deny the defendant’s motion in limine seeking
11   to preclude evidence about his firearms.
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22            The court in Hitt also rested its holding on the evidence’s “exceedingly small”
     probative value. 981 F.2d at 424. There, the defendant was convicted of possessing an
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     unregistered machine gun. Id. at 423. The defendant admitted to owning the firearm in
24   question, only arguing that the firearm was defective internally, and so it would not rapid-
25   fire in the manner of a machine gun. Id. The government sought to introduce the
     photograph to demonstrate that the firearm at issue was not defective, but the court
26   concluded the probative value was minimal, because the defendant’s argument rested on
27   its internal parts, not its external shell that appeared in the photograph. Id. Far from the
     “exceedingly small” probative value, as explained, the firearms are necessary to link the
28
     defendant to the evidence seized from a residence shared by three people.
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